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lN THE UN|TED STATES D|STR|CT COURT "` 1;
FOR THE WESTERN D|STRlCT OF TENNESSEE 95 ;_‘ ,;;
WESTERN DlV|S|ON ' : `""'

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uNlTED sTATEs oF AMERICA, 351 `c'F`f-:zij; i,'lav.aq;§
Plaimirr
vs.
CR. No. 04-20289-5
BARRY FERGUSON,
Defendant.

 

ORDEF{ ON CONT||\|UANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 25, 2005. At that time, counsel for the
defendant requested a continuance of the lVlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a@po_rt
date of Tuesdav. Nlav 31. 2005. at 9:30 a.m., in Courtroom 1, 11th Floor of the Federal
Bui|ding, l\/|emphis, TN.

The period from Nlay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) becausethe ends ofjustice served in allowing for additional time
to prepare outweigh the need fora speedy trial.

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J DA lEL BREEN \
iT o sTATEs orsTlecT JUDGE

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UNITED sTATE onlle COURT - WESERNT D's'TRCT 0 TNNESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20289 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

